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                                                                          EXHIBIT
                                                                                 21
                                                                    Trojan Battery Company (Bob Pigott)
                                                                             10/31/2022
                                                                         Steno: Barbara Carey, RPR




                            Trojan EV & GCC

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